t\'-                   Case 1:20-cr-00424-GLR Document 1 Filed 12/01/20 Page 1 of 1
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            USAO No

                                    IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND

            UNITED STATES OF AMERICA
                                                                                   20-424
                                                                    CASE NO.

            DAVID ANTHONY ROBINSON,                                 (Murder for Hire, l8 U.S.C. S 1958)

                             Defendant.
                                                           oOo

                                                    INFORMATION

                                                     COUNT ONE

                   The United States Attomey for the District of Maryland charges that:

                   Between at least in or about June 2017 through February 2019, in the District   of

            Maryland, the defendant,

                                                  DAVID ROBINSON,

            used the mail or any   facility of interstate commerce, and caused another to use the mail or any

            facility of interstate commerce, with intent that the murder of Victim I be committed in violation

            of Maryland Code, Criminal Law $$ 2-201,2-204,2-205, and2-206, 1-202, and the Common Law

            of Maryland, punishable pursuant to Maryland Code, Criminal Law $$ l-201, l-202,2-201,2-

            204, 2-205, md,2-206, and 18 U.S.C. g 1513, as consideration for the receipt of, and           as

            consideration for a promise and agreement to pay, things of pecuniary value, to wit: $10,000 in

            U.S. currency.

            18 U.S.C. $ 1958                                 ?4u*{h |ru,,
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                                                            United States Attomey
